                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

ANTHONY FOWLKES                                                                      PLAINTIFF

VS.                                  4:17CV00664-BRW-JTK

TIM RYALS, et al.                                                                DEFENDANTS

                                               ORDER

       I have received proposed findings and recommendations (Doc. No. 41) from United

States Magistrate Judge Jerome T. Kearney. After a review of those proposed findings and

recommendations, and the timely objections received thereto, as well as a de novo review of the

record, I adopt them in their entirety.

       Plaintiff’s objections allege that Defendants refused to respond to interrogatories because

they were “not received by the 10th of July” but were received on July 13. Plaintiff alleges that

he mailed them on July 9.    If Plaintiff’s allegations are accurate, Defendants need to comply

with Federal Rule of Civil Procedure 6(d) and the “Mailbox Rule.” However, this issue did not

affect the Recommended Disposition or pending Motion for Summary Judgment.

       Accordingly, Defendants= Motion for Summary Judgment (Doc. No. 37) is GRANTED,

and Plaintiff=s Complaint is DISMISSED with prejudice.

       An appropriate Judgment will accompany this Order.

       IT IS SO ORDERED this 13th day of September, 2018.



                                               /s/ Billy Roy Wilson ____________
                                          UNITED STATES DISTRICT JUDGE



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